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            UNITED STATES DISTRICT COURT FOR
                THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,                             Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                       Defendant .


MOTION TO COMPEL DISCOVERY OF RETIRED FBI AGENT
       In Order No. 239 at 19, the Court denied my motion (ECF No. 212) to compel the

government to identify active duty FBI agents who were with former FBI liaison to Capitol

Police John Guandolo on Capitol grounds and who were material witnesses to events. However,

the Court noted that it was “open to reconsidering a narrowed version of this motion that requests

the Government to provide the identity of any FBI agents who interacted with Defendant in some

manner.” It has come to my attention that a man who was using a satellite phone right next to me

and my brother outside the Capitol claims to be associated with individuals from the CIA, NSA,

DOJ, and FBI, and claims to have been at the Capitol with a retired FBI agent from New Jersey.

I have identified this man with the satellite phone as Todd Wetzelberger of Maryland and I have

also identified his retired FBI agent colleague as John Dew. Former FBI Agent Dew was filming

in close proximity to me and my brother and may have captured audio and video of our

conversation about what we witnessed inside the Capitol. I believe any such recording would be

evidence of my mental state at the time and prove that I had no criminal intent whatsoever.

Accordingly, I am moving for the Court to compel the government to identify whether

Wetzelberger and his FBI colleague John Dew were working on behalf of the government on

January 6, and compel production of any video or audio recordings they made.
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The Visual Identity of Todd Wetzelberger and His FBI Agent Colleague John Dew

          On October 8, 2024, I tweeted out a request for help to identify a man on the east side of

the Capitol who was using what appears to be an Iridium 9555 satellite phone.1 The post was

viewed several million times, and because of it, I received leads that the man with the satellite

phone was Todd Wetzelberger of Fallston, Maryland.




Figure 1: On October 8, 2024, I successfully crowd-sourced the identity of the man with the satellite phone.




1
 The Iridium 9555 satellite phone is used by the United States military and other federal government agencies. On
their company website, Iridium notes that it has a multi-year contract with the United States Space Force and a
dedicated DOD gateway that U.S. government departments and agencies can subscribe to for operational security:
https://www.iridium.com/enhanced-mobile-satellite-services/
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           After learning his name, I conducted an internet search for Wetzelberger that turned up a

podcast Wetzelberger did with Matt Belair on May 3, 2021.2 In that podcast,3 Wetzelberger

claimed that he rented a satellite phone to use on January 6 (See 39:55 mark of the podcast), and

that he was using it to communicate with his wife. I suspect this could just be a cover story, and

that Wetzelberger may have actually been using the satellite phone for a government operation.4




Figure 2: The Todd Wetzelberger who appeared on the Matt Belair podcast, matches the man with the satellite phone.




             During the podcast, Wetzelberger mentioned that his wife has a cousin who has been a

security contractor in the middle east (58 minute mark), and that he was at the Capitol with a



2
  Files in global discovery show that Telegram messages on phones belonging to defendants Ronald Loehrke and
Stewart Rhodes were advertising the Matt Belair podcast with Wetzelberger as being scheduled for April 10, 2021,
however, I was not able to find any podcast between Belair and Wetzelberger that took place in April, so I believe
they rescheduled for May 3, 2021. The recording I found of Wetzelberger’s podcast with Matt Belair was retrieved
from: https://www.youtube.com/watch?v=Gzg2pxqtdyc&t=10s

3
    It’s strange Wetzelberger did this public podcast since he also admitted he wiped his social media after January 6.

4
 During the Matt Belair podcast, Wetzelberger claims his wife told him about shots inside the Capitol, however
when Wetzelberger was using the phone near me and my brother, it was about seven minutes before Ashli Babbitt
was shot and the video shows Wetzelberger ending a call. So, even if Wetzelberger called his wife after the Babbitt
shooting, it’s possible he was also using the satellite phone for previous calls related to a government operation.
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retired FBI agent from New Jersey that he met there (40 minute mark). Wetzelberger also

claimed to have previously made contact with the DOJ and the FBI Baltimore Field Office prior

to embarking on a series of civil cases (9 minute mark), to be associated with a former NSA

employee Tom Drake (22 minute mark), to have hired a 30-year career CIA operative to dig up

dirt on judges (24 minute mark),5 and to have been friends with someone who set up secure

communications in the Clinton White House (29 minute mark).

        While some of Wetzelberger’s claims about connections to federal intelligence agencies

may not all be relevant to the facts of my case, these connections imply that Wetzelberger may

be widely known within the intelligence community. What certainly is relevant to my case is

Wetzelberger’s association on January 6 with a man he claims is a retired FBI agent.

        Video shows Wetzelberger conversing with a man in a black stocking cap and red-

collared black jacket near the base of the east central steps. Shortly after 3 p.m. on January 6,

CCTV Camera 0767 (which is near the southeast corner of the Capitol) recorded a clear view of

this man’s face while he was with Wetzelberger. Other video shows that Wetzelberger and this

man moved together on Capitol grounds. After finding the clear images of this man’s face, I put




5
 During the podcast, Wetzelberger specifically mentioned the Mike Flynn case, and claimed that he had dirt on
D.C. District Court Judge Emmett Sullivan (30 minute mark).
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out a second request for crowdsourced identification and received tips and photographic

evidence that Wetzelberger’s colleague at the Capitol was former FBI Agent John Dew.




Figure 3: FBI Agent John Dew (left) beside Todd Wetzelberger (in the blue jacket) while my brother and I were nearby.




Figure 4: Camera 0767 at the southeast corner of the Capitol provides a clear facial shot of Wetzelberger’s FBI colleague, John
Dew, at 3:07 p.m. This may have been when they were talking with individuals who witnessed the Ashli Babbitt shooting.

         John Dew currently runs a security consulting company. A bio on his company website

lists him as a Naval Academy graduate, and a former U.S. Navy Seal and a member of the

Underwater Demolition Team. Dew also had a 20-year career as an FBI Agent speciallizing in

counterintelligence, terrorism, and the Infrastructure Protection Squad. After retiring from the
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FBI, Dew began working as a ‘Senior Security Consultant,’ and he became an advisory board

member for the International Association of Counterterrorism Professionals.6

           FBI Agent John Dew also infamously gave a brief interview following a city council

meeting about the Sandy Hook shooting. In that interview, Dew called the meeting “very

strange” and when asked whether they might try to cover it up, Dew answered that he didn’t

know. This brief clip was spotlighted by John Dew’s nephew Rob Dew, the news director for

InfoWars, and seems to have contributed to Alex Jones claiming that the Sandy Hook shooting

was a false flag.7 This incident and a mention of Rob Dew’s FBI uncle also came up during

Jason Funes interview with the January 6th Committee.8

           I was able to find several photos of FBI Agent John Dew that match the man

Wetzelberger was with at the Capitol. These include photos of Dew at various events, including

CPAC and political events affiliated with the Republican Party of Morris County, New Jersey.




6
    FBI Agent John Dew’s website and bio can be viewed here: https://www.protectionpartnersgroup.com/Bios.htm

7
 For more background and the audio clip of John Dew’s statements on Sandy Hook, see:
https://knowledgefight.com/people/2019/1/2/rob-dew

8
 See page 173 of the January 6th Committee’s Transcribed Interview of Jason Funes:
https://www.govinfo.gov/app/details/GPO-J6-TRANSCRIPT-CTRL0000050112
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Figure 5: A photo of FBI Agent John Dew at a CPAC event.
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Relevance to My Case
           Even if John Dew was not working for the government on January 6, he is yet another

example of a current or former FBI Agent who did not perceive the Capitol grounds to be

restricted (See: ECF No. 212). This alone would make Dew a relevant perspective that would be

favorable to my defense. However, John Dew was also recording video with his device pointed

towards me and my brother as we exited the Capitol through the Memorial Doors, and Dew was

recording as me and my brother were standing just feet away from Dew and Wetzelberger.




Figure 6: Wetzelberger’s colleague FBI Agent John Dew was filming with a cell phone pointed in my direction after I exited
through the Memorial Doors on the east side of the Capitol. If he was working for the government, this recording is discoverable.

           The time period where I was standing near Wetzelberger and Dew is extremely relevant

to my case because at that moment a man began yelling to the crowd that the doors to the Capitol

at the top of the steps were open,9 and I mentioned to some nearby people that there were already

a lot of people inside the Capitol and that from my perspective, it seemed like police had decided


9
    I now know this to be when the Columbus Doors were opened for the second time at 2:38 p.m.
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to allow people to freely roam around the Capitol exercising their First Amendment rights.

Regardless of whatever other perspectives the Court or the government might now have, that was

my perspective at the time, and my vocalization of that perspective demonstrated my complete

lack of criminal intent and my sincere belief that people were lawfully exercising their

constitutional rights. Because FBI Agent John Dew was recording at that moment just five or six

feet away, I have reason to believe that his recordings may contain exculpatory audio and video

of me articulating that sincere belief, which would be material to my defense.




Figure 7: I was right beside Todd Wetzelberger as he was talking on a satellite phone. At this moment, Wetzelberger’s colleague
from New Jersey, FBI Agent John Dew, was just outside of the frame to the left of Wetzelberger, and I was conveying my belief
that people were lawfully exercising their constitutional rights. My brother Michael was just outside of the frame to the right.



         Since John Dew is a former FBI Agent and does security contracting work, I believe it’s

possible that Dew may have been contracted in some way to work for the government on January

6. This is a reasonable possibility due to the unusually high number of current and former FBI

agents that we now know were on the east side of the Capitol. If Dew or Wetzelberger were

working for the government, any recordings they made are material and subject to Brady.
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Figure 8: Synchronizing public video to CCTV from Dome Camera 0907 shows just how close my brother and I were to
Wetzelberger and his FBI agent colleague while the FBI agent was recording with his cell phone.

         I have tried searching the global discovery (through my standby counsel) for files related

to Todd Wetzelberger and John Dew. I was unable to locate any recordings that have already

been produced, but there were some files related to Wetzelberger, including tips submitted to the

FBI. I was unable to find any discovery produced by the government regarding former FBI

Agent John Dew. However, there were numerous files related to Agent John Dew’s nephew, Rob

Dew, including hundreds of messages with defendants Stewart Rhodes and Kelly Sorelle, as well

as communications with Joe Biggs, Sam Montoya, and Ivan Raiklin.10

         Since the government has not yet produced recordings made by Wetzelberger or John

Dew, I am motioning for the Court to require the government to produce what they possess,

including all audio and video recordings that Wetzelberger and Dew made on the east side of the


10
  Ivan Raiklin is strangely coded as a defendant in the global discovery (Relativity Index), and the government has
produced numerous files related to his presence at the Capitol and his phone communications, as well as FBI 302
reports from interviews with his Defense Intelligence Agency coworkers, but Raiklin is not a charged defendant.
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Capitol since these may contain information that is material to my case. I am also moving the

Court to compel the government to disclose whether either Wetzelberger or Dew were working

on behalf of the government on January 6.

        If neither of these men was working for the government on January 6, it may still be

possible that Dew and Wetzelberger voluntarily produced media they recorded to the

government. Since John Dew is former FBI, I suspect that he would have felt obligated to turn

over to the government any recordings he made at the Capitol regardless of whether Dew was

working on the government’s behalf, since these would be relevant to their investigation.11

        While I regret to continue filing motions regarding individuals who were undercover or

who have connections to U.S. intelligence agencies, it appears there was an astonishing number

of these people in the crowd at the Capitol on January 6, so I have no choice but to continue

bringing these matters to the Court. However, to save the Court time in dealing with similar

motions like this in the future, I move for the Court to compel the government to identify all

individuals who were working on behalf of the government that I came in close proximity to

(within 10 yards) on January 6, and to provide me with all media they recorded.

        The government has an obligation under Brady v. Maryland, and Rule 16 of the Federal

Rules of Criminal Procedure, to produce any favorable materials to the defense, if that

information is in the government’s possession (which includes all partner agencies who have

participated in the investigation). In this filing, I have provided the names of the two individuals

in question, John Dew and Todd Wetzelberger, and I provided contextual information on how

these men have been connected to the government, as well as a reasonable explanation for why


11
  This belief that Dew would provide information to the government is supported by the fact that Wetzelberger
claims Dew was questioning individuals who witnessed the Babbitt shooting while they were outside the Capitol.
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these men may have been working for the government on January 6. I have also articulated how

at the very least, John Dew’s FBI background may have led him to provide information

including recordings to the government to aid the government in their investigation.

       Had this information already been voluntarily produced by the government in my case-

specific discovery, I would not now be occupying the Court’s time with these motions to compel.

Since it has not provided voluntarily, I must ask the Court to compel production.

       Submitted respectfully to the Court,




                                                      By: William Pope
                                                          /s/
                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                        Certificate of Service
I certify that a copy of this was filed electronically for all parties of record on October 14, 2024.

                                              /s/
                                 William Alexander Pope, Pro Se
